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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                     CRIMINAL ACTION

VERSUS                                                                                    No. 10-222

LARRY RAMEE                                                                              SECTION I



                                               ORDER

        Before the Court is a “Motion to Reduce and Reconsider Sentence Pursuant to 18 U.S.C.

3682(c)(2)”1 filed by defendant, Larry Ramee. The United States of America has filed an

opposition.2

        Section 3582(c)(2) provides that courts may “modify a term of imprisonment once it has

been imposed . . . in the case of a defendant who has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing Commission

pursuant to 28 U.S.C. § 994(o) . . . if such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission.” Here, defendant has not identified a subsequent guidelines

amendment that would potentially authorize relief pursuant to § 3582(c)(2).3 Accordingly, such

relief is unavailable.

        Defendant raises several other argument, but these arguments may not be considered

pursuant to a § 3582(c)(2) motion. Defendant argues that his sentence should have been lower



        1
         R. Doc. No. 608.
        2
         R. Doc. No. 629.
        3
         Defendant received the benefit of Amendment 750 at the time he was sentenced. Defendant
also received the benefit of the guidelines’ “safety valve” provision, U.S.S.G. § 5C1.2, such that he
was not subject to any mandatory minimum sentence. R. Doc. No. 512, at 44; see also Dorsey v.
United States, 132 S. Ct. 2321 (2011).
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because he “was not a ring leader” and his “points were lower than most of the people involve[d].”4

He also argues that the Presentence Investigation Report prepared by U.S. Probation contains

inaccurate information with respect to his prior convictions. He additionally suggests that he

received ineffective assistance of counsel. “ ‘A § 3582(c)(2) motion is not the appropriate vehicle

for raising issues related to the original sentencing’ ” that are cognizable on direct appeal.5 United

States v. Evans, 587 F.3d 667, 674 (5th Cir. 2009) (modification omitted) (quoting United States v.

Shaw, 30 F.3d 26, 29 (5th Cir.1994)); see also United States v. Cooley, 590 F.3d 293, 297 & n.14

(5th Cir. 2009). Moreover, a § 3582(c)(2) motion cannot be used to advance an ineffective assistance

of counsel claim. United States v. Villa, 149 F.3d 1176, 1176 (5th Cir. 1998).

       Accordingly,

       IT IS ORDERED that the motion is DENIED.



       New Orleans, Louisiana, July 22, 2013.


                                                      __________________________________
                                                            LANCE M. AFRICK
                                                      UNITED STATES DISTRICT JUDGE




       4
        R. Doc. No. 608, at 2.
       5
       Defendant appealed his sentence, but his appeal was dismissed for want of prosecution. R.
Doc. Nos. 529, 571.
